857 F.2d 1468Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Roosevelt EDWARDS, Petitioner-Appellant,v.Raymond HAYES, Superintendent;  Attorney General of NorthCarolina, Respondents-Appellees.
    No. 88-7523.
    United States Court of Appeals, Fourth Circuit.
    Aug. 3, 1988.
    
      Roosevelt Edwards, appellant pro se.
      Before SPROUSE, ERVIN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Roosevelt Edwards seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Edwards v. Hayes, CA-87-857-HC (E.D.N.C. Nov. 25, 1987).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      DISMISSED.
    
    